               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
                                       )
vs.                                    )      Case No. 04-05033-02-CR-SW-ODS
                                       )
EMMANUEL RODRIGUEZ,                    )
                                       )
                      Defendant.       )

 ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      On August 31, 2005, the Honorable James C. England, United States Magistrate
Judge for the Western District of Missouri, issued his Report and Recommendation
recommending that Defendant’s Motion to Suppress be denied. Neither party filed
objections to the Report and Recommendation, and the time for doing so has passed.
28 U.S.C. § 636(b)(1)(C); Local Rule 74.1(a)(2). Accordingly, Judge England’s Report
and Recommendation is adopted as the Order of the Court, and Defendant’s Motion to
Suppress is denied.

IT IS SO ORDERED.



                                              /s/ Ortrie D. Smith
                                              ORTRIE D. SMITH, JUDGE
DATE: October 3, 2005                         UNITED STATES DISTRICT COURT




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